
PER CURIAM: *
Appealing the Judgment in a Criminal Case, Isidro Gomez-Castrejon raises arguments that are foreclosed by AlmendarezTorres v. United States, 523 U.S. 224, 235, 118 S.Ct. 1219, 140 L.Ed.2d 350 (1998), which held that 8 U.S.C. § 1326(b)(2) is a penalty provision and not a separate criminal offense. United States v. Pineda-Arrellano, 492 F.3d 624, 625 (5th Cir.2007), cert. denied, — U.S. —, 128 S.Ct. 872, 169 L.Ed.2d 737 (2008). The Government’s motion for summary affirmance is GRANTED, and the judgment of the district court is AFFIRMED.

 Pursuant to 5th Cir. R. 47.5, the court has determined that this opinion should not be published and is not precedent except under *399the limited circumstances set forth in 5th Cir. R. 47.5.4.

